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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                   No. 4:10CR00294-03 JLH

ENJOLEE CLARK                                                                         DEFENDANT

                                              ORDER

       Enjolee Clark has filed a motion for early termination of probation. The United States must

respond to the motion, after conferring with the probation office, within fourteen days from the entry

of this Order.

       IT IS SO ORDERED this 22nd day of July, 2014.




                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
